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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                     IN THE SOUTHERN DIVISION


GENERAL MOTORS LLC, and                    :
GM GLOBAL TECHNOLOGY                       :
OPERATIONS LLC,                            : Case No. 2:15-cv-12917
                                           :
                  Plaintiffs,              :
                                           :
         v.                                  Honorable Gerald E. Rosen
                                           :
DORMAN PRODUCTS, INC. and                  :
ELECTRONICS                                :
REMANUFACTURING COMPANY,                   :
LLC,                                       :
                                           :
                  Defendants.              :
                                           :

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Grant S. Palmer                            AND STONE, PLC
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     MOTION OF DEFENDANTS DORMAN PRODUCTS, INC. AND
      ELECTRONICS REMANUFACTURING COMPANY, LLC,
        TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT
      Defendants Dorman Products, Inc. and Electronics Remanufacturing

Company, LLC (collectively, “Dorman”), through their undersigned counsel, move
                                     1
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for dismissal of the Amended Complaint filed by Plaintiffs General Motors LLC

and GM Global Technology Operations LLC (collectively, “GM”).                  For the

reasons set forth in the accompanying brief, GM’s Amended Complaint fails to

state a claim upon which relief can be granted, and should be dismissed pursuant to

Federal Rule of Civil Procedure 12(b)(6).           In the alternative, GM should be

required to re-plead its claims with specificity.

      In accordance with E.D. Mich. L.R. 7.1, counsel for Dorman sought

concurrence from counsel for GM. Because concurrence was not forthcoming,

Dorman was required to file this motion.

                                        Respectfully submitted,

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Dated: December 21, 2015




                                       3
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                     IN THE SOUTHERN DIVISION


GENERAL MOTORS LLC, and                    :
GM GLOBAL TECHNOLOGY                       :
OPERATIONS LLC,                            : Case No. 2:15-cv-12917
                                           :
                  Plaintiffs,              :
                                           :
         v.                                  Honorable Gerald E. Rosen
                                           :
DORMAN PRODUCTS, INC. and                  :
ELECTRONICS                                :
REMANUFACTURING COMPANY,                   :
LLC,                                       :
                                           :
                  Defendants.              :
                                           :

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   DEFENDANTS DORMAN PRODUCTS, INC. AND ELECTRONICS
        REMANUFACTURING COMPANY, LLC’S BRIEF
         IN SUPPORT OF THEIR MOTION TO DISMISS
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                   STATEMENT OF ISSUES PRESENTED

      Issue #1:

      Should GM’s claim for copyright infringement under the Copyright Act, 17

U.S.C. §§ 101, et seq., be dismissed on the basis that GM has failed to: (i) allege

copying with sufficient particularity as required in the Sixth Circuit; and (ii)

identify the constituent elements of each alleged copyrighted work, as well as

which such works are original?

      Issue #2:

      Should GM’s claim for unlawful circumvention under the Digital

Millennium Copyright Act, 17 U.S.C. §§ 1201, et seq., be dismissed on the basis

that GM has failed to: (i) identify any work protected under the Copyright Act that

was accessed as a result of circumvention; and (ii) identify any technological

measure that controlled access to such unidentified copyrighted work?




                                         iv
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                           PRELIMINARY STATEMENT
        Through this action, GM attempts to set a precedent that will have dramatic

anticompetitive consequences for all manufacturers and users of aftermarket

automotive products.        GM seeks to enjoin Dorman, a re-manufacturer of

replacement automotive parts, and ERC, a re-manufacturer of replacement

electronics automotive parts,1 from selling aftermarket products by asserting broad

copyright claims over “software and other computer files” contained in “a number

of electronic control modules that control various systems on GM’s vehicles.” In

so doing, GM hopes to control the entire market of replacement parts for its

vehicles.

        Once GM’s rhetoric and accusatory characterizations are cleared away, only

vague conclusory statements remain. GM fails to allege sufficient facts to show its

claims are facially plausible, and the Amended Complaint fails to clear the bar set

by Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556

U.S. 662 (2009). This is especially true given the higher pleading standard for

copyright infringement claims required in the Sixth Circuit.

        Among other things, GM asserts infringement of an unspecified number of

computer files, installed on an unspecified number of automotive parts (GM refers



1
    Hereinafter collectively referred to as “Dorman.”
                                            1
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to them generically as “control modules”), on an unspecified number of GM

vehicles, without make or model.           In support of these claims, GM attaches

certificates of registration from the Copyright Office for six works—yet, there is

no way to tell by looking at these certificates what the associated software files are,

what they do, or how they are used. GM does not identify or provide any code

deposited with the Copyright Office, nor does GM describe the function of any

code or files that it allegedly protected through these registrations.2 Where the

nature of authorship is indicated at all, the certificates merely describe the software

authorship generically as “New programming text” or “computer program.” It is

unclear from the Amended Complaint how many copyrights GM is alleging, what

corresponding software GM claims to possess copyrights in, and whether it is

advancing a claim under any unregistered “other computer files.” Without more,

Dorman cannot fairly defend GM’s claims.

      GM’s copyright infringement claim (Count I) must be dismissed because

GM: (i) fails to allege copying with sufficient particularity as required in the Sixth

Circuit; (ii) fails to identify the constituent elements of each alleged copyrighted

work; and (iii) fails to identify which such works are original.


2
 Dorman has repeatedly asked GM to provide the deposits for the software and
computer files that are supposedly covered by the copyrights referenced in the
Amended Complaint, yet GM has steadfastly refused. GM’s refusal to explain its
allegations is surprising and telling, particularly if it believes its claims have merit.
                                            2
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      The DMCA anti-circumvention claim (Count II) fails because GM has

neither: (i) identified a work protected under the Copyright Act that was accessed

as a result of circumvention; nor (ii) identified any technological measure that

controlled access to such unidentified copyrighted work.

      For these reasons, detailed below, GM’s Amended Complaint should be

dismissed under Rule 12(b)(6). In the alternative, GM should be required to re-

plead its claims with specificity.

                           FACTUAL ALLEGATIONS3
      GM alleges that it holds copyrights in “software and other computer files,

including a large number of vehicle calibration files, firmware, data compilations,

and other computer files for its vehicle electronic control modules.”4 Of this broad

category of copyrights, GM identifies only six copyright registrations that it owns,

as follows:

      1. Techline Information Systems TIS 05 5 (registration no. ‘704);

      2. Techline Information System TIS 11 35 2005 CD (registration no. ‘702);

      3. Techline TIS v. 07.5 Application/Data 10 2007 (registration no. ‘845);




3
  Dorman accepts GM’s factual allegations as pled, as it must, only for purposes of
this motion to dismiss.
4
  Amend. Compl. ¶¶29-30. (“Amend. Compl.” or “Amended Complaint” shall
refer to GM’s Amended Complaint and Jury Demand, located at Docket Entry #5.)
                                           3
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        4. Techline Information Systems TIS 14.5 (registration no. ‘803);

        5. Tech 2 Vehicle Diagnostic Software NAO 33.004 (registration no. ‘501);

           and,

        6. Techline Information System TIS NAO Vehicle Calibration Software

           2014 (registration no. ‘502).5

        GM does not explain what these six copyrighted computer files or programs

purportedly do within a GM vehicle, nor does GM identify the “electronic control

modules” on which these files are installed. GM simply alleges that it owns

copyrights in software, including those covered by the six registrations, and

separately alleges that its vehicles contain an unspecified “number of electronic

control modules that control various systems on GM’s vehicles.”6 GM fails to

connect any software, in any way, with any control modules.                Though GM

identifies the Transmission Electro-Hydraulic Control Module (“TEHCM”) as one

example of a “control module,” GM does not state whether or to what extent the

software covered by these six registrations are installed on TEHCMs or on other

“control modules.”




5
    Amend. Compl. ¶18.
6
    Amend. Compl. ¶15.
                                            4
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      Although GM appends the certificates for each of these copyright

registrations to the Amended Complaint, they yield little information. As one

example, the ‘704 registration for “Techline Information Systems TIS 05 5” states

that it is a derivative work, with pre-existing material referred to only as “Previous

version.” The registration is also deficient on its face (and potentially subject to

cancellation), utterly failing to identify the “nature of authorship” as required by

the Copyright Office. The same is true for the ‘702 registration. Indeed, the nature

of the software cannot be understood from any of the registrations.

      Although the U.S. Copyright Office requires that any author seeking

copyright protection for a computer program submit “one copy of identifying

portions of the program ([e.g.,] first 25 and last 25 pages of source code),” GM has

not provided Dorman with copies of any source code deposits for the computer

program copyrights at issue. Instead, GM has provided the mere certificates,

which are insufficient for the allegations presented.

      GM’s allegations about Dorman’s supposed copying are equally thread-bare,

based entirely upon two “facts.”

      First, GM draws an inference based upon its review of Dorman’s website.

GM includes in the Amended Complaint a purported screenshot from Dorman’s




                                          5
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website stating, “TEHCM Units come pre-programmed.”7 GM then jumps to the

conclusion that Dorman products are sold with “GM software.”8 In the following

paragraph, however, GM concedes that the website merely “suggests” the Dorman

products have “operating software” for GM vehicles.9 GM does not explain what

portions, if any, of its six registered works are found in any of Dorman’s

aftermarket automobile parts.

         Second, GM alleges that it purchased on an unknown date “a sample of a

module sold by Dorman, and confirmed that it has an unauthorized copy of GM’s

copyrighted software on it.”10 But the Amended Complaint does not state what

that “sample” was; what module it was a sample of; what alleged “copyrighted

software” was discovered on the sample; how that software purportedly functions;

or which registration covers the software allegedly discovered on the sample.

         Under Iqbal and Twombly and, even more so, the Sixth Circuit’s higher

pleading requirement for copyright infringement claims, detailed below, GM has

failed to allege sufficient facts to raise a right to relief. Dorman cannot fairly

answer a complaint that does not explain what software files have been allegedly



7
    Amend. Compl. ¶21.
8
    Id. at ¶22.
9
    Id. at ¶23.
10
     Id. at ¶25.
                                           6
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infringed, or which copyrights cover the files or programs that GM believes

Dorman has copied. The Amended Complaint should be dismissed for failure to

state a claim.

                                   ARGUMENT

      A.     Legal Standard under Rule 12(b)(6).
      Notice pleading under the Federal Rules of Civil Procedure “does not unlock

the doors of discovery for a plaintiff armed with nothing more than conclusions.”

Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009).         In Iqbal, the United States

Supreme Court clarified the standard for dismissal under Rule 12(b)(6), finding

that dismissal is warranted where the complaint does not “allege ‘sufficient factual

matter’ to show that a claim is facially plausible.” Iqbal, 556 U.S. at 675. Under

this standard, “[f]actual allegations must be enough to raise a right to relief above a

speculative level, on the assumption that all the allegations in the complaint are

true.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555-56 (2007). Accordingly,

“a plaintiff’s obligation to provide the ‘grounds’ of his entitle[ment] to relief’

requires more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.” Id. at 555 (citations omitted). Rather,

to be plausible on its face, the pleading must include sufficient “factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. at 570. GM has failed to do that here.

                                          7
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      “In the Sixth Circuit, copyright infringement claims are subject to a higher

pleading requirement.” Ford Motor Co. v. Autel US Inc., No. 14-13760, 2015 WL

5729067, at *3 (E.D. Mich. Sept. 30, 2015) (emphasis added). The Sixth Circuit

has recognized that “[c]opyright infringement…lends itself readily to abusive

litigation, since the high cost of trying such a case can force a defendant who might

otherwise be successful in trial to settle in order to avoid the time and expenditure

of a resource intensive case.” Dorchen/Martin Assocs. v. Brook of Cheboygan,

Inc., 838 F. Supp. 2d 607, 611 (E.D. Mich. 2012) (citing Nat’l Bus. Dev. Servs.,

Inc. v. Am. Credit Educ. & Consulting, Inc., 299 Fed. Appx. 509, 512 (6th Cir.

2008)). As a result, “copyright infringement claims require ‘greater particularity in

pleading through showing plausible grounds” for infringement. Ford Motor, 2015

WL 5729067, at *3 (quoting Nat’l Bus. Dev. Servs., Inc., 299 Fed. Appx. at 512).

This requires that a plaintiff has pleaded “enough facts to raise a reasonable

expectation that discovery will reveal evidence of copyright infringement.” Id.

GM’s Amended Complaint does not clear that high bar.

      B.     GM’s Copyright Infringement Claim (Count I) Should Be
             Dismissed.
      GM’s claim for copyright infringement (Count I) fails to allege either the

constituent elements of the software or the specific compilation of data that is the

subject of its copyright registration. Furthermore, GM fails to allege that Dorman


                                          8
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actually copied any of those constituent elements. These are fatal flaws that

mandate dismissal.

      “To establish copyright infringement, two elements must be proven:

ownership of a valid copyright and copying of constituent elements of the work

that are original.” Dorchen/Martin Assocs., 838 F. Supp. 2d at 617 (citing Feist

Publ’ns, Inc. v. Rural Tel. Servs. Co., 499 U.S. 340, 361 (1991)); see Kohus v.

Mariol, 328 F.3d 848, 853 (6th Cir. 2003). For Rule 12(b)(6) purposes, the

allegation of copying must be sufficiently particularized to permit a plausible

inference that infringement has occurred. See Dorchen/Martin Assocs., 838 F.

Supp. 2d at 611-13 (citing Nat’l Bus. Dev. Servs., Inc., 299 Fed. Appx. at 512).

      In Dorchen/Martin, this Court granted a motion to dismiss where a plaintiff

failed to “satisfy the ‘greater particularity in pleading’ requirement for copyright

actions.” 838 F. Supp. 2d at 612. Plaintiff had alleged that it owned a copyright in

certain architectural and related design work, which defendant had allegedly

copied to construct a substantially similar, if not, identical, project. Id. at 610. The

Court found that the complaint was deficient because, although the “Plaintiff has

identified a work product that infringed on Plaintiff’s copyrighted work,” and

“alleges the finished facility as a whole is ‘substantially similar,’” “Plaintiff has not

described the manner in which Defendants’ work infringed upon Plaintiff’s

product in order to adequately give Defendants notice of the claim against them.”
                                           9
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Id. at 612. Similarly, here, GM alleges copying by Dorman, but fails to identify

the specific manner in which Dorman’s work supposedly infringes upon GM’s

product.

      In Nat’l Bus. Dev. Servs., the plaintiff alleged that defendants had unlawfully

used educational materials that were registered for copyright protection. 299 Fed.

Appx. at 510. The Sixth Circuit affirmed dismissal of the copyright infringement

claim because a mere allegation that the defendants’ work “incorporates the

copyrighted materials” was insufficient where the plaintiff failed to identify the

constituent elements that were allegedly copied. Id. at 511-12. For the same

reason, here, GM has failed to “identify any specific works by defendants that

infringe on plaintiff’s copyright,” id. at 511, or any constituent elements that were

allegedly copied.

      GM’s conclusory allegations of copying are deficient. GM has alleged six

software files or programs for which it obtained copyright registrations, but fails to

specify the type of files, programs, or data from those registrations that were

allegedly copied. GM has failed to allege which “constituent elements” were

copied and also that those elements are valid and “original.” Dorchen/Martin

Assocs., 838 F. Supp. 2d at 617; see 17 U.S.C. §102(b) (copyright protection does

not “extend to any idea, procedure, process, system, method of operation, concept,

principle, or discovery”). GM has also failed to identify the aftermarket parts on
                                          10
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which its software files were allegedly copied by Dorman. GM has only identified

one sample of a module that it claims contains its copyrighted software,11 but it has

not provided any information on the sample—e.g., which module, which software

files, or which copyrights (if any).

        Other than this “sample,” GM’s remaining allegations are based on GM’s

interpretation of Dorman’s website, which states that TEHCMs purchased from

Dorman are “pre-programmed.” But nowhere on the Dorman website does it say

that the TEHCMs are pre-programmed with “GM software” (another term that GM

does not define).    GM merely makes the leap that if the TEHCMs are pre-

programmed, then Dorman must have copied and installed GM’s software on

them. This is exactly the sort of conclusory allegation that Iqbal and Twombly

prohibit.

        Because GM has provided no allegations as to what “software” was

allegedly copied (or that a protected compilation of data was copied), GM has

alleged nothing unlawful, and Count I should be dismissed.

        C.    GM’s Unlawful Circumvention Claim under the DMCA (Count
              II) Should Be Dismissed.
        As with GM’s copyright infringement claim (Count I), GM’s claim for

unlawful circumvention (Count II) cannot stand as pled. GM does not allege any


11
     Amend. Compl. ¶25.
                                           11
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details, or even a timeline, of Dorman’s alleged circumvention; does not claim that

it owned copyrightable subject matter at the time (again, unspecified) of Dorman’s

alleged circumvention; and does not identify any copyrighted works that have been

accessed by Dorman, nor any technological measures that protected such

unidentified copyrighted works.     Without these basic details, Dorman cannot

defend GM’s claim for unlawful circumvention.

      Enacted in 1998, the DMCA, 17 U.S.C. § 1201 et seq., does not create new

property rights, but rather “creates new ‘causes of action for liability’” for

copyright owners. Dice v. Bold Technologies, 913 F. Supp. 2d 389, 409 (E.D.

Mich. 2012) (quoting Chamberlain Grp., Inc. v. Skylink Techs., Inc., 381 F.3d

1178, 1192 (Fed. Cir. 2004)). The statute provides that, subject to certain carve-

outs, “[n]o person shall circumvent a technological measure that effectively

controls access to a work protected under this title.” 17 U.S.C. §1201(a)(1)

(emphasis added).

      GM does not, however, allege that it owned, at the time of any alleged

circumvention, a “work protected under this title,” nor does GM identify any

technological measures that protected access to such unidentified works. Speaking

to the general motivations of the DMCA, the Sixth Circuit has explained that:

            All three liability provisions of this section of the DMCA
            require the claimant to show that the “technological
            measure” at issue “controls access to a work protected
                                         12
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             under this title,” see 17 U.S.C. §1201(a)(2)(A)-(C),
             which is to say a work protected under the general
             copyright statute, id. § 102(a).

Lexmark Int’l, Inc. v. Static Control Components, Inc., 387 F.3d 522, 550 (6th Cir.

2004) (emphasis in original). GM’s allegations do not distinguish among the six

purported copyright registrations identified in the Amended Complaint and which,

if any, are protected by a technological measure. That defect alone should result in

dismissal of Count II.

      GM also, however, fails to allege that the purpose of the circumvention was

to trade in pirated goods. The Sixth Circuit—speaking, again, to the purpose of the

DMCA—stated in Lexmark Int’l, Inc., 387 F.3d 522, that the DMCA only applies

where a party is attempting to commit piracy of a copyrighted work:

             By contrast, Lexmark would have us read this statute in
             such a way that any time a manufacturer intentionally
             circumvents any technological measure and accesses a
             protected work it necessarily violates the statute
             regardless of its “purpose.” Such a reading would ignore
             the precise language – “for the purpose of” - as well as
             the main point of the DMCA - to prohibit the pirating of
             copyright-protected works such as movies, music, and
             computer programs.

387 F.3d at 552-53 (Merritt, J., concurring) (emphasis added). Although this was a

concurring opinion, neither of the other two panel judges disagreed with this point,

and their comments reflect agreement. See 387 F.3d at 553 (“[M]y colleagues and

I agree on a number of points regarding this case. . . . We agree that the Digital

                                         13
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Millennium Copyright Act (DMCA) was not intended by Congress to be used to

create a monopoly in the secondary markets for parts or components of products

that consumers have already purchased.”) (Feikins, J., concurring in part and

dissenting in part). In fact, the very rationale of requiring this element of proof

was the concern that a larger manufacturer may “enforce its will against a smaller

rival” by imposing upon it “the potential cost of extended litigation and discovery.”

Id. at 552. There is no such allegation of purposeful piracy here, but every reason

to believe that GM is attempting to enforce its will against a smaller rival.

      Significantly, the Sixth Circuit pointed out the potential for misuse of the

DMCA, because manufacturers could “create monopolies” in the aftermarket

through use, and that “[a]utomobile manufacturers, for example, could control the

entire market of replacement parts for their vehicles,” as follows:

             If we were to adopt Lexmark’s reading of the statute,
             manufacturers could potentially create monopolies for
             replacement parts simply by using similar, but more
             creative, lock-out codes. Automobile manufacturers, for
             example, could control the entire market of replacement
             parts for their vehicles by including lock-out chips.
             Congress did not intend to allow the DMCA to be used
             offensively in this manner, but rather only sought to
             reach those who circumvented protective measures “for
             the purpose” of pirating works protected by the copyright
             statute. Unless a plaintiff can show that a defendant
             circumvented protective measures for such a purpose, its
             claim should not be allowed to go forward.



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Id. (emphasis added). That is what GM seeks to do here. Because GM has not

alleged that Dorman acted with a purpose of pirating works, Count II should be

dismissed.

      In short, as with GM’s hollow cause of action for copyright infringement

(Count I), GM fails to state a claim with requisite specificity for unlawful

circumvention (Count II). Dorman cannot discern or evaluate, let alone defend,

GM’s claims as they are pled.




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                                  CONCLUSION
      For the foregoing reasons, Dorman and ERC respectfully request that the

Court dismiss the Amended Complaint. In the alternative, GM should be required

to file an amended pleading stating its claims with specificity.

Dated: December 21, 2015                Respectfully submitted,

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                          CERTIFICATE OF SERVICE
      I hereby certify that on December 21, 2015, I electronically filed the

foregoing with the Clerk of the Court using the ECF system, which will send

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